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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

      UBIQUITI NETWORKS, INC.,


                               Plaintiff,

                         v.
                                                        Civil Action No.: 1:18-cv-05369
      CAMBIUM NETWORKS, INC.;
      CAMBIUM NETWORKS, LTD.;
                                                        JURY TRIAL DEMANDED
      BLIP NETWORKS, LLC;
      WINNCOM TECHNOLOGIES, INC.;
      SAKID AHMED; and DMITRY
      MOISEEV.

                               Defendants.


                              NOTICE OF UNOPPOSED MOTION

TO:    All Counsel of Record
       PLEASE TAKE NOTICE that on May 6, 2019 at 9:00 a.m., or as soon thereafter as counsel

may be heard, the undersigned shall appear before the Honorable Gary Feinerman or any other

Judge sitting in his place in the courtroom usually occupied by him in Room 2125 of the Everett

McKinley Dirksen Building, 219 South Dearborn Street, Chicago, Illinois, and shall then and there

present the Unopposed Motion for Withdrawal and Substitution of Counsel for Plaintiff Ubiquiti

Networks, Inc.
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Dated: April 30, 2019                   Respectfully submitted,

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                                        Attorneys for Plaintiff Ubiquiti Networks, Inc.

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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies the foregoing Notice of Motion was filed on April 30,
2019 with the Clerk of the United States District Court for the Northern District of Illinois, Eastern
Division, using the Court’s CM/ECF system, which is also served upon counsel for all parties of
record.


                                                      /s/Elizabeth B. Herrington




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